                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               _______________
                               WESTERN          DIVISION
                                 No. __________________


WATERFORD I AT CARY PARK CONDOMINIUM              )
HOMEOWNERS ASSOCIATION, INC.                      )
                                                  )
       Plaintiff(s),                              )
                                                  )
                                                  )
               v.                                 )     SUPPLEMENTAL REMOVAL COVER
                                                  )               SHEET
NATIONWIDE PROPERTY AND CASUALTY                  )
INSURANCE COMPANY                                 )
                                                  )
       Defendant(s).                              )


      The removing party must complete this Supplemental Removal Cover Sheet and
comply with Local Civil Rule 5.3. Attach separate sheets as necessary to provide complete
responses.

Section A—Plaintiffs

List the full name of each plaintiff from the state court action and indicate whether the plaintiff is
pending (i.e., in case currently), dismissed, or otherwise terminated at the time of removal. If
dismissed or terminated, indicate the date of dismissal/termination

                                                      Pending at time   Dismissed or   Date of
Full Name of Plaintiff                                of removal –      terminated?    Dismissal or
                                                      Yes/No?           Yes/No?        Termination

WATERFORD I AT CARY PARK CONDOMINIMUM                 YES               NO




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   Section B—Defendants

   List the full name of each defendant from the state court action and indicate whether the
   defendant is pending, dismissed or otherwise terminated at the time of removal. If dismissed or
   terminated, indicate the date of dismissal/termination. If known, indicate if and when each
   defendant was served with process and whether the defendant joins in the removal.

                                               Dismissed or                         If
                                                                                               Does the
                                  Pending      terminated?      Has defendant       served
                                                                                               defendant
                                  at time of   Yes/No?          been served with    with
Full Name of Defendant                                                                         join in
                                  removal?     (If yes, state   process?            process,
                                                                                               removal?
                                  Yes/No?      date of          Yes/No/Unknown?     date of
                                                                                               Yes/No?
                                               termination)                         service?
 NATIONWIDE PROPERTY AND          YES               NO          YES                10/21/2022 YES
   CASUALTY INSURANCE




   Section C—Removal pursuant to 28 U.S.C. § 1442(d)(1)

   Is only part of the state court action being removed pursuant to 28 U.S.C. § 1442(d)(1)?
   Yes _______        No _______

   If “Yes,” specify what portion of the state court action is being removed, and then proceed to the
   signature page. If “No,” proceed to Section D.

   __________________________________________________________________

   __________________________________________________________________

   __________________________________________________________________




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Section D—Pending State Court Motions as of Date of Removal

Is there currently a temporary restraining order or preliminary injunction in place in this action
from state court? Yes ______       No________

List every known motion pending at the time of removal. Indicate the name of the filer, the date
of filing, whether the motion has a supporting memorandum, and whether the motion is time
sensitive, such as a motion for preliminary injunction.

                                                                                    Time
                                                         Date of       Memorandum--
Title of Pending Motion       Name of Filer                                         sensitive?
                                                         Filing        Yes/No?
                                                                                    Yes/No?




Section E—Scheduled State Court Hearings as of Date of Removal


                                                                      Assigned State Court
        Date and Time of Hearing         Hearing Type
                                                                      Judge




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     11/21/2022
Date: __________________           ________________________________________
                                   Signature of Attorney for Removing Party or
                                   Unrepresented Removing Party

                                               Rachel E. Keen
                                   Printed Name______________________________
                                            Womble Bond Dickinson (US) LLP
                                   Law Firm _________________________________

                                   Address___________________________________
                                          One W. 4th Street, 12th Floor

                                   Winston Salem, NC 27101
                                   __________________________________________
                                                    (336) 721- 3600
                                   Telephone Number __________________________
                                              (336) 721- 3660
                                   Fax Number _______________________________
                                                  Rachel.Keen@wbd-us.com
                                   Email Address: _____________________________
                                                 27777
                                   State Bar No. ______________________________




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